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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,          )
                                   )            1:04-cr-5328 AWI
                    Plaintiff,     )
     vs.                           )
                                   )            ORDER FOR RETURN OF
EMIGDIO REYES-GARCIA,              )            PASSPORT
                                   )
                    Defendants.    )
___________________________________)


     The above-named defendant having served his sentence in

this matter;


     IT IS HEREBY ORDERED that the Passport posted in this matter

be returned to the defendant or their representative.


Passport No.:       0809453 (Mexico)

Receipt No.:        101-6454


IT IS SO ORDERED.

Dated:    January 24, 2008                /s/ Anthony W. Ishii
0m8i78                              UNITED STATES DISTRICT JUDGE
